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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                     :       Case No. 1:22-CR-99-RJL
                                             :
                                             :
v.                                           :
                                             :
JAKE MAXWELL,                                :
                                             :
       Defendant                             :
                DEFENDANT’S SUPPLEMENTAL SENTENCING BRIEF

       COMES NOW the Defendant, Jake Maxwell (“Mr. Maxwell”), by and through counsel,

Michael T. van der Veen and William J. Brennan, hereby submits this Supplemental Sentencing

Brief for this Honorable Court’s consideration prior to and during the sentencing of Defendant and

in support thereof avers as follows:

       On April 29, 2024, Defendant appeared before Your Honor for Sentencing. At that time,

Defense counsel and the Government argued extensively concerning the appropriate guidelines

for this case. Prior to the conclusion of Defendant’s Sentencing Hearing, Your Honor advised that

both Defense Counsel and the Government may file supplemental briefs as it pertains to the

contested guideline calculations. This brief outlines each contested guideline.

Base Level Offense for Civil Disorder 18 U.S. Code § 231

       After the April 29, 2024 Sentencing Hearing, Defense counsel consulted with United States

Sentencing Guidelines Expert Robert Weinberger. Based on that consultation, Defense counsel

asks this Honorable Court to consider utilizing USSG §2B2.3(b)(1)(A)(vii), which yields a total

Offense Level of 6. The base offense level is four (4), however, if the trespass occurred at any

restricted building or grounds, there shall be an increase in two (2) levels. Mr. Maxwell was found

guilty of being present at the Capitol Grounds when the Capitol Grounds were a restricted place
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to be. As such, Mr. Maxwell submits that the crimes for which he was found guilty are most

analogous to the crime of trespass, and therefore, the more appropriate Offense Level is a six (6).

       In the alternative, Defense counsel asks this Honorable Court to utilize U.S.S.G. §2A2.4,

as this crime is most analogous with Obstructing and Impeding Officers rather than Aggravated

Assault, which is a crime Mr. Maxwell was found not guilty of. Nonetheless, the Government

insists on continuously attempting to back door this enhancement regardless of the Court’s verdict.

U.S.S.G § 2A2.4(b)(1)(A) Physical Contact Enhancement Objection

       U.S.S.G 2A2.4(b)(1)(A) is not applicable to the present case. There is no definition of

physical contact under the US Sentencing Commission. However, the Eleventh Circuit has found

that § 2A2.4 (b)(1) applies to “defendant-initiated physical contact.” United States v. McKeiver,

982 F. Supp. 842, 845 (M.D. Fla. 1997), aff'd, 158 F.3d 587 (11th Cir. 1998). Further, although no

federal court has given an explicit definition of “physical contact,” the Seventh Circuit looked to

the offense of battery in evaluating the true meaning of physical contact. In doing so, the Court

noted, “[w]hile battery is defined as ‘intentional and wrongful physical contact with a person,’ see

BLACK'S LAW DICTIONARY 152 (6th ed.1990), it is clear that the contact between the

aggressor and the victim need not be direct, but rather can result from the ‘indirect application of

force ... by some substance or agency placed in motion by’ the aggressor.” United States v.

Taliaferro, 211 F.3d 412, 415 (7th Cir. 2000)(emphasis added)(finding that “defendant's action

[of] throwing a cup of urine on a prison guard, amounts to ‘physical contact’ with the prison guard,

and therefore the three-level upward adjustment was warranted.)

       The “physical contact” initiated by Mr. Maxwell and the officers in this case is nonexistent.

This Honorable Court found that “[f]rom the collective evidence, the Court, too, finds it ‘possible’

— if not likely — that Mr. Maxwell's contact with the U.S. Capitol Police officer's shield was



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more the result of the propelling, pushing crowd and his father's reactive maneuvering than it was

his own action.” N.T. 11/14/23, p. 398. This Court also noted that, “Officer Harvell himself, whose

body-worn camera captured the incident, agreed on cross-examination that it was ‘possible’ that

Mr. Maxwell was ‘being pushed’ from behind.” N.T. 11/14/23, p. 398. The evidence was clear at

trial that while Mr. Maxwell’s presence on January 6, 2021 at the Capitol was voluntary, all of his

movements were not. Even if this Honorable Court were to find an indirect application of force,

there is insufficient evidence to conclude that application of forced was placed in motion by Mr.

Maxwell, himself. See Taliaferro, supra.

       The Government relies upon United States v. Beltran-Higuera to say that Mr. Maxwell

could reasonably see that his actions could bring about physical contact with federal officers.

However, that case involved a co-defendant who was found guilty of accessory after the fact of

assaulting United States Coast Guard officers. Importantly, the co-defendant had already seen

Mejia–Leyva aggressively and violently resist arrest when he rammed the USCG vessel. See

United States v. Beltran-Higuera, 642 F. App'x 780, 784 (9th Cir. 2016). Here, Mr. Maxwell could

not reasonably have foreseen he would be pushed and thrown into the police line. Specifically, Mr.

Maxwell “did not know that it was going to have those kind of people there.” N.T. 11/9/23, p. 330.

Mr. Maxwell had no idea what the people dressed in military gear were doing. See N.T. 11/9/23,

p. 342. Lastly, Mr. Maxwell testified that when he saw all of the bad things that people were doing

to police, the crowd was too big to leave. N.T. 11/9/23, p. 309.

       The Government also relies upon United States v. Stevenson to say that whether a

Defendant initiates contact is irrelevant for purposes of this enhancement. However, this is

nowhere stated in this very brief opinion, and is contradictory to other jurisdictions. Despite that,

the Court in Stevenson found that “Stevenson admitted that he resisted the officers' attempts to



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physically remove him from the car, he necessarily engaged in physical contact.” No. 20-3207

U.S. App. LEXIS 35443, at *4 (6th Cir. Nov. 10, 2020). Here, no such finding, or even something

similar, exists.

        In the present case, it is clear that Mr. Maxwell’s movements were reflexive, reactionary,

and not of his own volition. There was no intent to come into contact with any officers on January

6, 2021. The offense of Civil Disorder as charged in the case at bar states, “[w]hoever commits or

attempts to commit any act to obstruct, impede, or interfere with any fireman or law enforcement

officer lawfully engaged in the lawful performance of his official duties incident to and during the

commission of a civil disorder which in any way or degree obstructs, delays, or adversely affects

commerce or the movement of any article or commodity in commerce or the conduct or

performance of any federally protected function-- Shall be fined under this title or imprisoned not

more than five years, or both.” 18 U.S.C.A. § 231(a)(3). Importantly, civil disorder requires no

physical contact, so simply because there was contact to an extent, does not mean that Mr. Maxwell

committed any act that makes the physical contact enhancement applicable.

        Notwithstanding the above, even if there is no intent requirement to commit the physical

contact, there must still be a voluntary act. As noted above, Mr. Maxwell’s movements were not

his own, and therefore, U.S.S.G § 2A2.4(b)(1)(A) should not apply.

§ 3C1.1 Obstruction of Justice Enhancement Objection

        The Government demands that Mr. Maxwell obstructed justice by providing false

testimony, and therefore there should be an addition of two (2) points to the base level offense.

First and foremost, Mr. Maxwell provided no false testimony to this Honorable Court. Mr.

Maxwell testified truthfully, fully and to the absolute best of his ability based upon his honest

recollection from two and a half years prior.


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       This District has found that, “[i]n order for [3C1.1] adjustment to apply, the Court must

find that the defendant (1) gave false testimony, (2) concerning a material fact, (3) with the intent

to deceive, rather than as a result of confusion, mistake or faulty memory.” United States v. Irving,

593 F. Supp. 2d 140, 141 (D.D.C. 2009). The Court in Irving went on to quote the United States

Supreme Court stating, “[N]ot every accused who testifies at trial and is convicted will incur an

enhanced sentence ... for committing perjury.... [Rather,] if a defendant objects to a sentence

enhancement resulting from her trial testimony, a district court must review the evidence and make

independent findings necessary to establish a willful impediment to, or obstruction of, justice, or

an attempt to do the same, under the perjury definition we have set out.” Id. at 141-42(quoting

United States v. Dunnigan, 507 U.S. 87, 95 (1993)).

       At the April 29, 2024 Sentencing Hearing, the Government was asked if they were

contending Mr. Maxwell committed perjury while he testified. The Government replied “no.” The

two are one in the same. Either Mr. Maxwell lied on the stand, and thus committed perjury, or he

did not. This Court’s verdict and the evidence submitted shows Mr. Maxwell did not obstruct

justice. Mr. Maxwell gave his rendition of events as he remembered them and from his subjective

perspective. Two individuals can have two different recollections of an event without one of them

providing false information.

          The Government contends that Mr. Maxwell lied when he testified that he did not join a

mob that hurt police. Although the Court found that Mr. Maxwell joined in a crowd that he knew

included assaultive rioters, this conclusion was made for the purpose of determining that Mr.

Maxwell intended to obstruct, impeding or interfere with police. The Court did not find that Mr.

Maxwell joined a mob or a group of people to hurt police. Therefore, Mr. Maxwell did not provide

false testimony and in turn obstruct justice.



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          Lastly, the Government states that because Mr. Maxwell was impeached by a video of

him looking over into an area of space and seeing individuals becoming violent with police that

he provided false testimony. First, Mr. Maxwell testified to the best of his recollection that he

could. He testified after viewing the video that “it looks like” he saw people fighting prior to

reaching the front of the line. Notably, however, Mr. Maxwell had previously testified in the

following way:

               [Attorney Whitesel]: And you saw the police, obviously.
               [Mr. Maxwell]: Yes, sir.
               [Attorney Whitesel]: And were they wearing armor?
               [Mr. Maxwell]: I mean, riot gear.
               [Attorney Whitesel]: Okay. And I think you testified earlier, you
               called them the police that were defending the Capitol.
               [Mr. Maxwell]: Yes, sir.
               [Attorney Whitesel]: Who were they defending the Capitol from?
               [Mr. Maxwell]: The bad people in the crowd.
               [Attorney Whitesel]: The bad people in the crowd?
               [Mr. Maxwell]: The people that were doing bad things to them. Yes,
               sir.
               [Attorney Whitesel]: Who were the people who were doing bad
               things in the crowd?
               [Mr. Maxwell]: As you see in the video, the people throwing things
               and actually assaulting them.
N.T. 11/9/23, p. 309.

          The exchange prior to the “impeachment” was as follows:

               [Attorney Whitesel]: And while you were in the crowd at the Capitol
               you started seeing people fighting the police. Right?
               [Mr. Maxwell]: At the front of the line, yes.
               [Attorney Whitesel]: So this was before you were actually at the
               very, very front of the crowd.
               [Mr. Maxwell]: Well, not the very front. I mean, we definitely saw
               some things but we were already in the midst of a lot of people.
               …
               Q. Is it your testimony that you were not at the very front of the
               crowd when you first saw people start to fight the police?
               A. Well, police in particular, no, because I wouldn't have been able
               to see that police line if I wasn't at the front, like directly. If that
               makes sense.
N.T. 11/9/23, p. 310-311.

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       Mr. Whitesel then shows Mr. Maxwell Exhibit 502. Mr. Maxwell does not come into frame

on Exhibit 502 until approximately the 43 second mark. At this point, it is ambiguous whether

there is any fighting happening in that moment. However, Mr. Whitesel asks Mr. Maxwell, “So

before you all were at the front of the line, you saw people fighting police officers. Correct?” Mr.

Maxwell replies, “[i]t looks like that on this video.” N.T. 11/9/23, p. 313.

       Simply because Mr. Maxwell does not recall seeing individuals assaulting police officers

prior to reaching the front of the line or when he gets to the front of the line does not mean he

provided false testimony. Rather, Mr. Maxwell testified that there were bad people there doing

inexcusable things to police officers. At no point did he say he never saw any of that occurring. It

is easy to show a video from above to imply that Mr. Maxwell should have seen instances of police

officers being assaulted, but that was not the question. As the Court knows, at the time of the

incident, Mr. Maxwell was 19 years old. When he testified at trial, almost three (3) years had

passed, making it implausible for him to remember every nuance from that chaotic day. As such,

at no point did Mr. Maxwell provide false testimony, and therefore U.S.S.G. 3C1.1 does not apply.

§ 3E1.1 Acceptance of Responsibility

       When considering whether a defendant qualifies for the two (2) point reduction, the

following are non-exhaustive, appropriate considerations:

               (A) truthfully admitting the conduct comprising the offense(s) of
               conviction, and truthfully admitting or not falsely denying any
               additional relevant conduct for which the defendant is accountable
               under §1B1.3 (Relevant Conduct). Note that a defendant is not
               required to volunteer, or affirmatively admit, relevant conduct
               beyond the offense of conviction in order to obtain a reduction
               under subsection (a). A defendant may remain silent in respect to
               relevant conduct beyond the offense of conviction without affecting
               his ability to obtain a reduction under this subsection. However, a
               defendant who falsely denies, or frivolously contests, relevant
               conduct that the court determines to be true has acted in a manner
               inconsistent with acceptance of responsibility;

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             (B) voluntary termination or withdrawal from criminal conduct or
             associations;
             (C) voluntary payment of restitution prior to adjudication of guilt;
             (D) voluntary surrender to authorities promptly after commission of
             the offense;
             (E) voluntary assistance to authorities in the recovery of the fruits
             and instrumentalities of the offense;
             (F) voluntary resignation from the office or position held during the
             commission of the offense;
             (G) post-offense rehabilitative efforts (e.g., counseling or drug
             treatment); and
             (H) the timeliness of the defendant's conduct in manifesting the
             acceptance of responsibility.
U.S.S.G. §3E1.1 (emphasis added).

       The applicable considerations in the present case include the fact “that a defendant is not

required to volunteer, or affirmatively admit, relevant conduct beyond the offense of conviction in

order to obtain a reduction under subsection (a).” It was Mr. Maxwell’s own testimony that in fact

convicted him. Specifically Mr. Maxwell testified that “[w]e just wanted to observe what was

going on that day as well as in my view protest. Peacefully.” N.T. 11/9/23, p. 278. Mr. Maxwell

admitted he wanted to go there and protest, a fact that this Court found was intended to disrupt

Congress. N.T. 11/14/23, p. 404. Mr. Maxwell went on to say, “[b]ack then I wasn't thinking about

it, but now, I should have known that I wasn't supposed to be there.” N.T. 11/9/23, p. 303.

       Also important when considering whether an individual has accepted responsibility is the

post-offense rehabilitative efforts. While the Commentary to U.S.S.G. 3E1.1 gives examples of

counseling and drug treatment, Mr. Maxwell submits his remorse is an example of rehabilitative

efforts, as the consequences his actions have brought have been deterrence in it of themselves.

Importantly, when asked if he regretted entering the Capitol Grounds, Mr. Maxwell confirmed he

did. See N.T., 11/9/23, p. 322.

       The Government demands that Mr. Maxwell cannot accept responsibility because he

pushed the Government to their burden and in the submitted sentencing memorandum maintained

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his innocence. Mr. Maxwell maintains a Fifth Amendment right against self-incrimination, and

therefore, should not be penalized simply because he did not concede his guilt in his sentencing

memorandum, but rather accepted responsibility on the stand and under oath during trial.

       Also a consideration when determining if an individual qualifies for the acceptance of

responsibility reduction is whether an individual voluntarily assisted authorities in the recovery of

the fruits and instrumentalities of the offense. Mr. Maxwell was cooperative throughout the entire

process from investigation to the present with authorities. Mr. Maxwell even drove to Athens,

Georgia to meet with FBI Agents after January 6th and explain his version of events, and even

identified himself in the photos and videos shown to him. As such, when viewed in totality, it is

clear that Mr. Maxwell accepted responsibility and § 3E1.1 should apply.

§ 4C1.1 True-Zero

       Mr. Maxwell is a quintessential true-zero, as the guidelines suggest. An individual is

entitled to a two (2) point reduction if they satisfy all of the following requirements:

               (1) the defendant did not receive any criminal history points from
               Chapter Four, Part A;
               (2) the defendant did not receive an adjustment under §3A1.4
               (Terrorism);
               (3) the defendant did not use violence or credible threats of violence
               in connection with the offense;
               (4) the offense did not result in death or serious bodily injury;
               (5) the instant offense of conviction is not a sex offense;
               (6) the defendant did not personally cause substantial financial
               hardship;
               (7) the defendant did not possess, receive, purchase, transport,
               transfer, sell, or otherwise dispose of a firearm or other dangerous
               weapon (or induce another participant to do so) in connection with
               the offense;
               (8) the instant offense of conviction is not covered by §2H1.1
               (Offenses Involving Individual Rights);
               (9) the defendant did not receive an adjustment under §3A1.1 (Hate
               Crime Motivation or Vulnerable Victim) or §3A1.5 (Serious Human
               Rights Offense); and



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              (10) the defendant did not receive an adjustment under §3B1.1
              (Aggravating Role) and was not engaged in a continuing criminal
              enterprise, as defined in 21 U.S.C. § 848.
U.S.S.G. § 4C1.1

The Government agrees that Mr. Maxwell satisfies nine (9) of the above requirements. The

Government, however, contends that Mr. Maxwell should not receive the 4C1.1.

       As a preliminary matter, during the first portion of the Sentencing Hearing, the Government

contended that 4C1.1 does not apply to individuals convicted of offenses surrounding January 6,

2021. Yet, the Government provides no support or citation as to where this purported fact came

from. Rather, the Government is doing everything they possibly can to increase the offense level

in this case because they have no other choice. The Government is attempting to recover from their

nearly unblemished felony conviction record on January 6th cases being broken through this

baseless contention. However, if this made-up theory was true, the Sentencing Commission would

have noted that assertion in the guidelines since the latest edition was passed after the January 6,

2021 incident at the Capitol.

       Next, Mr. Maxwell was found by the Court to not have used violence or credible threats of

violence, See N.T. 11/9/23 p. 405, and therefore qualifies for an adjustment pursuant to §4C1.1.

As discussed at length during the April 29, 2024 Sentencing Hearing, the current matter is

analogous to a recent decision in the District Court for the District Columbia, namely, United

States v. Yang, No. 23-100 (JDB), 2024 U.S. Dist. LEXIS 22938 (D.D.C. Feb. 9, 2024). In Yang,

the Defendant pled guilty to civil disorder and the issue concerning applicability of 4C1.1 was

raised. It is important to note that in Yang, the Defendant conceded the three-point physical contact

enhancement. Here, that is still in dispute.

       In applying 4C1.1, the Court in Yang focused on the definition of violence and threats of

violence. Specifically, the Court noted,

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               [c]ontemporary dictionaries define “violence” as “[t]he use of
               physical force, usu[ally] accompanied by fury, vehemence, or
               outrage; esp[ecially], physical force unlawfully exercised with the
               intent to harm,” Violence, Black’s Law Dictionary (11th ed. 2019),
               or as “the use of physical force so as to injure, abuse, damage, or
               destroy,” Violence, Merriam Webster, https://www.merriam-
               webster.com/dictionary/violence. These definitions draw additional
               support from case law interpreting “violence” in similar contexts.
               See, e.g., United States v. Pineda-Duarte, 933 F.3d 519, 523 (6th
               Cir. 2019) (defining “violence,” as used in § 2D1.1(b)(2), as “acts
               where one uses physical force with the intent to injure”); United
               States v. Atkinson, 815 F. App’x 704, 708 (4th Cir. 2020)
               (unpublished per curiam) (same).
Id. at 8-9.

        Even if this Honorable Court were to determine that there existed physical contact to the

extent necessary for the sentencing enhancement, as with Yang, that is not enough to rise to the

level of threat that precludes an additional from receiving the 4C1.1 reduction. As noted by the

Court in Yang, “[e]ven assuming Yang applied ‘physical force’ insofar as he briefly made physical

contact with two officers, the Court finds that this contact was not made with an intent to harm.”

Id. at 7. Finally, the Government’s request that this Honorable Court vary upwards to offset the

4C1.1 application is without merit and illogical and this Honorable Court should regret such theory

as the Court did in Yang. As such, Mr. Maxwell is a true-zero and should receive the 4C1.1

reduction.

                                                                          Respectfully Submitted,


Date: May 15, 2024                                                  /s/ Michael T. van der Veen
                                                                        Michael T. van der Veen
                                                                         Attorney for Defendant
                                                                    Pennsylvania Bar No. 75616
                                                     van der Veen, Hartshorn, Levin & Lindheim
                                                                              1219 Spruce Street
                                                                         Philadelphia, PA 19107
                                                                               P: (215) 546-1000
                                                                               F: (215) 546-8529
                                                                              mtv@mtvlaw.com

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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 15th day of May, 2024 a copy of the foregoing

Supplemental Sentencing Brief was electronically filed with the Clerk of the United States District

Court using CM/ECF, with a notice of said filing to the following:




        Counsel for the Government:                                        Elizabeth N. Eriksen
                                                          1301 New York Ave., N.W., Room 849
                                                                        Washington, DC 20530
                                                                             P: (202) 616-4385
                                                                  Elizabeth.Eriksen@usdoj.gov




                                                                     /s/ Michael T. van der Veen .
                                                                     Michael T. van der Veen, Esq.




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